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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

MICHAEL MCCARTHY, et al.,                 )
                                          )
      Plaintiffs,                         )
                                          )    No. 1:20-cv-10701-DPW
                    -against-             )
                                          )    Leave to File Granted on April 27, 2020
CHARLES D. BAKER, in his Official         )
Capacity as Governor of the               )
Commonwealth of Massachusetts, et al.,    )
                                          )
      Defendants.                         )


BRIEF OF THE NATIONAL SHOOTING SPORTS FOUNDATION, INC. AS AMICUS
    CURIAE IN SUPPORT OF PLAINTIFFS’ MOTION FOR A TEMPORARY
          RESTRAINING ORDER AND PRELIMINARY INJUNCTION

                                 CAMPBELL CONROY & O’NEIL, P.C.
                                 James M. Campbell (BBO #541882)
                                 Jacob J. Lantry (BBO #690452)
                                 Campbell Conroy & O’Neil, P.C.
                                 One Constitution Wharf, Suite 310
                                 Boston, MA 02129
                                 (617) 241-3000
                                 jmcambpell@campbell-trial-lawyers.com
                                 jlantry@campbell-trial-lawyers.com

                                 BRADLEY ARANT BOULT CUMMINGS LLP
                                 John Parker Sweeney*
                                 James W. Porter III*
                                 Connor M. Blair*
                                 Bradley Arant Boult Cummings LLP
                                 1615 L Street, N.W., Suite 1350
                                 Washington, DC 20036
                                 (202) 719-8216
                                 jsweeney@bradley.com
                                 jporter@bradley.com
                                 cblair@bradley.com
                                 *Pro hac vice counsel




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                                     INTEREST OF AMICUS

       The National Shooting Sports Foundation, Inc. (“NSSF”) submits this brief in support of

Plaintiffs’ Motion for a Temporary Restraining Order and Preliminary Injunction (“Plaintiffs’

Motion”). NSSF is the national trade association for the firearm, ammunition, and hunting and

shooting sports industry. NSSF’s membership includes over 9,000 federally licensed firearm

manufacturers, distributors and retailers; companies manufacturing, distributing and selling

shooting and hunting related goods and services; sportsmen’s organizations; public and private

shooting ranges; gun clubs; and endemic media. Many NSSF members are based in and/or conduct

business in Massachusetts.

       NSSF supports Plaintiffs’ Motion because Defendants are using Massachusetts’ COVID-

19 Orders to prohibit NSSF members from conducting their essential, constitutionally-protected

business of selling firearms and ammunition to law-abiding, responsible citizens of Massachusetts.

As the federal COVID-19 policies and those of all but a few other states confirm, firearm retailers

are essential businesses, and this Court should declare them so under Massachusetts’ COVID-19

Orders. Firearm retailers provide goods and services that are essential to the maintenance of public

safety and self-defense. Firearm retailers provide law enforcement agencies with the tools they

need to carry out their vital public safety mission during times of emergency. Firearm retailers also

are critically essential to the exercise by law-abiding, responsible citizens of their constitutionally-

protected, natural right to self-defense. That right is never more important than during this COVID-

19 emergency because law enforcement response may not be timely due to under-staffing and

added duties. There is also legitimate concern among the law-abiding that criminal offenders are

being released from custody or may be less likely to be taken into custody in the first place.

       NSSF, on behalf of its members and their customers, asks this Court to declare that the

lawful sale of firearms and ammunition by licensed firearm retailers is an essential business under


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the COVID-19 Orders and, in any event, that the Second Amendment protects the right of licensed

firearm retailers to sell firearms and ammunition products to customers exercising their Second

Amendment right to acquire these products for lawful purposes.

                                              INTRODUCTION

        To promote social distancing and help Massachusetts slow the spread of COVID-19,

Governor Baker has ordered all non-essential businesses to close pending resolution of the

COVID-19 outbreak.1 Rather than define or list essential businesses, the COVID-19 Orders

instead provide illustrative examples of essential businesses that may remain open. See Exhibit A

to Mass. Exec. Order No. 13 (March 31, 2020). These illustrative examples include businesses

offering services that are “essential to promote the public health and welfare of the

Commonwealth,” including, by way of examples, grocery stores, liquor stores, sawmills, and

cabinet stores, among many retail stores, and even workers in places of worship. See Mass. Exec.

Order No. 21; Exhibit A to Mass. Exec. Order No. 21 (March 31, 2020). The illustrative list of

essential businesses does not specifically include firearm retailers, but does include businesses

offering services that are essential to “law enforcement, public safety, and other first responders,”

including “[w]orkers supporting the operation of firearm or ammunition product manufacturers,

importers, and distributors,” and “[w]orkers supporting the manufacturing of safety equipment and

uniforms for law enforcement, public safety personnel, and first responders,” and “private

security.” Exhibit A to Mass. Exec. Order No. 21 (March 31, 2020) at 2.




1
  Governor Baker issued COVID-19 Order No. 13 on March 23, 2020. See Mass. Exec. Order No. 13 (March 23,
2020), https://tinyurl.com/rog8pj7. He issued COVID-19 Order No. 21 on March 31, which extended COVID-19
Order No. 13 to March 23, 2020. See Mass. Exec. Order No. 21 (March 31, 2020), https://tinyurl.com/ugg42dd.
Exhibit A to these orders provides illustrative examples of essential businesses. See Exhibit A to Mass. Exec. Order
No. 13 (March 23, 2020), https://tinyurl.com/vfvjq8s; Exhibit A to Mass. Exec. Order No. 21 (March 31, 2020),
https://tinyurl.com/ta7qylx. COVID-19 Order Nos. 13 and 19 as well as the updated March 31, 2020 Exhibit A are
referred to collectively as the “COVID-19 Orders.”


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       The COVID-19 Orders’ illustrative list is “based on federal guidance.” It references and is

nearly identical to the Department of Homeland Security’s Federal Cybersecurity and

Infrastructure Security Agency’s (“DHS”) March 28, 2020 Guidance. The COVID-19 Orders’ and

DHS’s illustrative lists substantively mirror each other with one exception: DHS expressly

includes firearm retailers. See Christopher C. Krebs, Director, Cybersecurity & Infrastructure

Security Agency, Advisory Memorandum On Identification of Essential Critical Infrastructure

Workers During COVID-19 Response 6, U.S. DEP’T OF HOMELAND SECURITY (Mar. 28,

2020), https://bit.ly/2UWevY8. Moreover, the Bureau of Alcohol, Tobacco, Firearms, and

Explosives (“ATF”) has determined that firearm retailers may continue to conduct business during

this time in conformity with recommended health precautions. U.S. Dept. of Justice, Guidance

Letter to ATF Federal Firearms Licensees (Apr. 10, 2020), https://bit.ly/2Vop8mC. In keeping

with the ATF’s guidance, Massachusetts firearm retailers have demonstrated their ability to

conform to the social distancing and sanitation guidelines. Plaintiffs Troy City Tactical, Precision

Point Firearms, Shooting Supply, and Cape Cod Gun Works, for instance, routinely cleaned

doorknobs and countertops, enforced social distancing, limited the number of people

simultaneously in the store, and did “appointment only” retail sales. See Complaint, Dkt. 1, at ¶ 51.

And NSSF has repeatedly urged firearm retailers to “closely follow CDC guidelines, practice

social distancing and take precautions to protect the health and safety of their employees and

customers.” See, e.g., NSSF, Alabama Issues “Stay at Home” Order – Firearm Industry Deemed

“Essential” (Apr. 3, 2020), http://www2.nssf.org/l/127421/2020-04-03/3zld9b; NSSF, Georgia

Governor Issues Statewide Order – Firearm Industry Deemed “Critical Infrastructure” (Apr. 2,

2020), http://www2.nssf.org/l/127421/2020-04-02/3z132b.




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       The COVID-19 Orders’ illustrative examples once expressly included firearm retailers.2

But Governor Baker revised the illustrative examples by removing firearm retailers after Attorney

General Maura Healey voiced objections on Twitter and after a telephone call with House Speaker

Robert DeLeo. See Plaintiffs’ Motion, at 6. Governor Baker provided no explanation for this

revision, which was the only change made to the list of essential businesses.

       The revised version of the COVID-19 Orders’ illustrative examples neither expressly

includes nor excludes firearm retailers. Nevertheless, Defendants have relied upon the COVID-19

Orders to shut down firearm retailers, completely prohibiting the lawful sale of firearms and

ammunition. Seizing on Governor Baker’s revision, the Commissioner of the Department of

Criminal Justice Information Services issued a directive to all Chiefs of Police and firearm

licensing personnel that firearm retailers are not essential. See Complaint, Dkt. 1, at ¶¶ 45-46. He

also threatened the enforcement of COVID-19 Orders through targeted audits of firearm sales by

firearm dealers. Id. at ¶ 46. Plaintiffs Troy City Tactical, Precision Point Firearms, Shooting

Supply, and Cape Cod Gun Works have been advised by various public officials that they must

close or risk the loss of their license to sell firearms, as well as criminal prosecution. Id. at ¶¶ 52-

55.

                                            ARGUMENT

I. Massachusetts may not ban firearm sales by forcing firearm retailers to close.

       Firearm retailers are essential businesses and should be declared as such under the COVID-

19 Orders. Regardless, the right of law-abiding, responsible citizens to purchase and the firearm

retailers’ right to sell arms is protected by the Second Amendment. The Second Amendment

prohibits Defendants from closing Massachusetts firearm retailers because doing so denies law-


2
   See Matt Murphy, Baker Reversed Course on Gun Shop, Range Openings, The Sun, Apr. 2, 2020,
https://bit.ly/2REgGin.


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abiding, responsible citizens the ability to lawfully acquire firearms and ammunition for lawful

purposes including self-protection. This Court should permit firearm retailers to remain open

during the COVID-19 emergency.

   A. Firearm retailers are essential businesses under the COVID-19 Orders.

       The COVID-19 Orders make clear that a business is essential if it offers services that are

essential to “law enforcement, public safety, and other first responders.” See Exhibit A to Mass.

Exec. Order No. 21. Governor Baker’s illustrative list specifies that these services include

“[w]orkers supporting the operation of firearm or ammunition product manufacturers, importers,

and distributors,” “[w]orkers supporting the manufacturing of safety equipment and uniforms for

law enforcement, public safety personnel, and first responders,” and “private security.” See Exhibit

A to Mass. Exec. Order No. 21. The federal guidance upon which the COVID-19 Orders are based

acknowledges that firearm retailers are essential to public safety during the current pandemic. Like

the COVID-19 Orders, DHS’s guidance expressly deems firearm retailers essential because they

support “law enforcement, public safety, and other first responders.” Firearm retailers should be

essential businesses under the COVID-19 Orders, as they are expressly recognized under the

federal guidance.

       Firearm retailers are essential to public safety, providing the firearms and ammunition that

are essential to law enforcement as well as citizens for self-defense. Firearm retailers are essential

to law enforcement because they provide firearms and ammunition to law enforcement and other

public safety personnel, including private security, that are used to protect Massachusetts’ citizens.

Most law enforcement agencies and their officers obtain firearms and ammunition from their local

federally licensed firearm retailer. See NSSF Letter to Department of Homeland Security (March

20, 2020), p. 2, attached hereto as Exhibit A. Law enforcement often turns to firearm retailers in

times of civil unrest, which may occur in Massachusetts during the COVID-19 crisis. Id. For


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instance, during the Los Angeles riots in 1992, local law enforcement relied on retailers to obtain

more effective firearms to restore the peace and protect residents and local businesses. Id. It is

essential that law enforcement have ready access to the firearms and ammunition they need to

serve, protect, and defend Massachusetts’ communities.

        Firearm retailers are also essential to citizen self-defense, which is essential to public

safety. In Massachusetts, firearm retailers are the sole provider of firearms to Massachusetts

citizens. See Plaintiffs’ Motion, at 2-3. Firearms are essential for law-abiding, responsible citizens

to defend themselves, their families, and their homes--especially during this emergency. The

effects of the COVID-19 pandemic may reduce the number of law enforcement personnel available

to respond and add significantly to the work of law enforcement. The combined impact may well

reduce the ability and timeliness of law enforcement to respond to criminal activity. Moreover,

convicted criminals are being released from custody and criminal offenders may be less likely to

be taken into custody in the first place.3 It is for times like these that the Second Amendment

protects against government infringement upon the natural right to self-defense: “Americans

understood the ‘right of self-preservation ‘as permitting a citizen to ‘repe[l] force by forc ‘when

the intervention of society in his behalf, may be too late to prevent an injury.’” District of Columbia

v. Heller, 554 U.S. 570, 595 (2008) (quoting 1 Blackstone’s Commentaries 145–146, n. 42 (1803)).

Law-abiding, responsible citizens around the country are choosing to purchase firearms, some for

the first time, to defend themselves, their loved ones, and their homes in this uncertain time.4


3
  See Deborah Baker, So Far, More Than 300 Prisoners Released Due To COVID-19 Under Mass. High Court’s
Ruling, WBUR (Apr. 14, 2020), https://www.wbur.org/news/2020/04/14/inmates-jails-prisons-sjc-special-master-
report; Zusha Elinson and Ben Chapman, Coronavirus Pandemic Changes Policing, Including Fewer Arrests, The
Wall Street Journal, (March 27, 2020), https://www.wsj.com/articles/coronavirus-pandemic-changes-policing-
including-fewer-arrests-11585301402.
4
  Background checks required to buy firearms have spiked to record numbers in the past month, fueled by Americans
worried about their safety during the coronavirus crisis; the FBI conducted 3.7 million background checks for firearm
purchases in March, the most ever recorded in a single month by the bureau and over one million more than March



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        Firearm retailers are critical to ensuring Massachusetts citizens practice firearm safety.

Firearm retailers provide expert training on how to safely handle and responsibly store firearms.

They also provide the means to do so by offering secure gun storage and safety devices, which are

defined to include storage units such as safes as well as items that “prevent the firearm from being

operated without first deactivating the device” or “prevent the operation of the firearm by anyone

not having access to the device.” See 18 U.S.C. § 921(a)(34). Firearm retailers are required to

provide a secure gun storage or safety device when selling or transferring a handgun to a consumer.

18 USC § 922(z); Mass. Gen. Laws ch. 140, § 131K. Furthermore, firearms retailers must certify

to the ATF that they stock and provide such devices on their licensing application and renewal. 18

U.S.C. § 923(d)(1)(g).

        Firearm retailers remaining open and conducting business present no special health

concerns different in kind or degree from any other business the state has deemed “essential” like

liquor stores. The ATF has determined that Federal Firearms Licensees may continue to conduct

business during this time in conformity with recommended health precautions. U.S. Dept. of

Justice, Guidance Letter to ATF Federal Firearms Licensees (Apr. 10, 2020). And nearly every

state to consider whether firearm retailers are essential during the COVID-19 pandemic has

determined that they are. See Plaintiffs’ Motion, at 6-7 (collecting states).

        Defendants’ forced closure of firearm retailers is wholly unrelated to Massachusetts’ ability

to timely and effectively respond to the COVID-19 emergency. Firearm retailers do not use

medical supplies or hospital space. Nor are they incapable of following the social distancing and

sanitation guidelines in their stores. Governor Baker’s inclusion of firearm retailers in the list of



2019. See Lisa Marie Pane, Background checks for guns surge during coronavirus pandemic, USA TODAY (Apr. 2,
2020),        https://www.usatoday.com/story/money/2020/04/02/coronavirus-gun-background-checks-surge-during-
crisis/5112252002/. Firearm retailers reported that the overwhelming majority of buyers over the past month have
been first-time gun owners. See id.


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essential businesses acknowledged that firearm retailers are essential and that they can adhere to

social distancing and sanitation guidelines. The later arbitrary deletion of firearm retailers from

that list did not provide any explanation or finding that they could not adhere to social distancing

and sanitation guidelines. As the ATF has stated, and as the firearm retailer Plaintiffs have

demonstrated, firearm retailers are just as capable as any other business that Massachusetts deems

essential—most of which are not critical to the exercise of a constitutionally-protected right that

is an essential component of public safety. Simply put, it is not rational to permit liquor stores,

marijuana dispensaries and even garden centers to operate while closing firearm retailers.

       NSSF respectfully requests this Court declare that firearm retailers are an essential business

as that term is used in the COVID-19 Orders.

   B. The Second Amendment prohibits Massachusetts from banning firearm sales.

       The COVID-19 Orders are unconstitutional to the extent they force firearm retailers to

close. The Second Amendment prohibits Defendants from closing firearm retailers because the

Second Amendment protects—and thus prohibits infringement of—the citizen’s right to purchase

and the retailers’ right to sell arms. Defendants’ actions closing firearm retailers effects a statewide

ban on acquisitions and sales of firearms because only licensed firearm retailers may sell firearms

in Massachusetts, and Massachusetts citizens may not acquire arms outside Massachusetts. See

Plaintiffs’ Motion, at 2-3. This is beyond the power of state government even in an emergency.

       The right to purchase and the right to sell arms are concomitant to the right to keep and

bear arms enshrined in the Second Amendment. The United States Courts of Appeals for the Third,

Seventh, and Ninth Circuits—the only circuit courts to consider the issue—have confirmed this

principle. The Third Circuit, in United States v. Marzzarella, 614 F.3d 85, 92 n. 8 (3d Cir. 2010),

cautioned that a ban on firearm sales would be unconstitutional: “If there were somehow a

categorical exception for [commercial] restrictions, it would follow that there would be no


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constitutional defect in prohibiting the commercial sale of firearms. Such a result would be

untenable under Heller.” The Seventh Circuit, in Ezell v. City of Chicago, 651 F.3d 684, 704 (7th

Cir. 2011), held that the right to possess firearms entails the “corresponding right to acquire and

maintain proficiency . . . .” See also Ass’n of Firearms Retailers v. City of Chicago, 961 F. Supp.

2d 928, 930 (N.D. Ill. 2014) (“[T]he right to keep and bear arms for self-defense under the Second

Amendment . . . must also include the right to acquire a firearm . . . .”); Radich v. Guerrero, No.

1:14–CV–00020, 2016 WL 1212437, at *7 (D.N. Mar. I. Mar. 28, 2016) (“If the Second

Amendment individual right to keep and bear a handgun for self-defense is to have any meaning,

it must protect . . . the complimentary right to sell handguns.”).

       The Ninth Circuit in Teixeira v. County of Alameda, 873 F.3d 670, 682 (9th Cir. 2017) (en

banc), echoed this conclusion: “[c]ommerce in firearms is a necessary prerequisite to keeping and

possessing arms for self-defense . . . .” Teixeira also specified that commerce in firearms includes

both the right to acquire and to sell. See id. At issue in Teixeira was a zoning ordinance that

prohibited a firearm dealer from being located within 500 feet of certain identified entities. Id. at

673-76. Because the zoning ordinance affected only one “particular proprietor,” the Ninth Circuit

concluded that it was “wholly detached from any customer’s ability to acquire firearms” generally

and therefore did not affect the established right to acquire a firearm. Id. at 682. Rather than

impacting only one firearm retailer, the COVID-19 Orders prohibit all Massachusetts firearm

retailers from selling firearms. Because Massachusetts citizens may acquire a firearm only by

doing so in person at a licensed firearm retailer, Defendants’ enforcement of the COVID-19 Orders

effects a complete ban on firearm sales, destroying the exercise of the right; it is not a mere burden

incidental on the exercise of the right.




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       Where the exercise of a right requires the participation of other actors, regulating those

other actors out of existence necessarily infringes on the constitutional rights of the person seeking

to exercise those rights. See Carey v. Population Servs., Int’l, 431 U.S. 678, 689 (1977) (holding

that “[l]imiting the distribution of nonprescription contraceptives to licensed pharmacists clearly

imposes a significant burden on the right of the individuals to use contraceptives”); Planned

Parenthood of Wis. v. Doyle, 162 F.3d 463, 471 (7th Cir. 1998) (holding that “[t]he constitutional

right to an abortion carries with it the right to perform medical procedures that many people find

distasteful or worse”); see also Lovell v. City of Griffin. Ga., 303 U.S. 444, 447, 452 (1938)

(striking down an ordinance criminalizing the distribution of certain literature because prohibiting

distribution of constitutionally protected speech amounts to “censorship in its baldest form” that

renders the First Amendment protection meaningless).

       The right to sell arms is embedded in the Second Amendment’s text, history, and tradition.

The text codifies the pre-existing right of law-abiding, responsible citizens to acquire arms for

lawful purposes. Heller, 554 U.S. at 576–603. History and tradition confirm that the Second

Amendment protects the right to sell arms. See Teixeira, 873 F.3d at 693 (J. Tallman, concurring

in part and dissenting in part) (“History supports the view that the Second Amendment must

contemplate the right to sell firearms if citizens are to enjoy the core, fundamental right to own

and possess them in their homes.”). Thomas Jefferson in 1793 recognized the history and tradition

supporting the right to sell, writing that “[o]ur citizens have always been free to make, vend, and

export arms.” Thomas Jefferson, 3 Writings 558 (H.A. Washington ed., 1853). For instance, in

colonial Virginia, all persons had “liberty to sell armes and ammunition to any of his majesties

loyall subjects inhabiting this colony.” Laws of Va., Feb., 1676–77, Va. Stat. at Large, 2 Hening

403 (cited in Teixeira v. Cty. of Alameda, 822 F.3d 1047, 1054 (9th Cir. 2016)), on reh’g en banc,




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873 F.3d 670 (9th Cir. 2017). “In terms of the original meaning of the Second Amendment, the

right to engage in firearms commerce is clear.” David B. Kopel, Does the Second Amendment

Protect Firearms Commerce?, 127 Harv. L. Rev. F. 230, 234–35 (2014).

       History and tradition also confirm that the Second Amendment protects the right to sell

during an emergency, including the current COVID-19 pandemic. It is therefore not surprising that

the federal government and all but a very few state governments have not banned firearm sales

during the current pandemic but instead have expressly protected the Second Amendment rights

of both sellers and buyers.

     In Civil Rights Defense Firm, P.C. v. Wolf, -- A.3d --, 2020 WL 1329008 (Pa. Mar. 22, 2020)

(per curiam), the Pennsylvania Supreme Court dismissed as moot an effort to block the application

of Pennsylvania's emergency closure order to attorneys’ offices because the Governor reversed

course and determined that they may remain open. Three justices filed a concurring and dissenting

opinion, declaring that the Application for Emergency Relief had brought “to the Court's attention

a deprivation of a constitutional right” because the emergency closure order made “no allowance

for any continued operation of licensed firearm dealers.” Id. at *1. The Justices went on to

conclude: “In light of the regulatory framework attending the sale and transfer of firearms, the

inability of licensed firearm dealers to conduct any physical operations amounts to a complete

prohibition upon the retail sale of firearms—an activity in which the citizens of this

Commonwealth recently have been engaging on a large scale, and one guaranteed by [] the United

States Constitution. . . .” Id. “Unlike the vast majority of other items, the sale and transfer of

firearms sold at retail cannot be completed merely by way of telecommunication and mailing under

existing law.” Id. at *2. Pennsylvania subsequently changed the order to allow firearm retailers to




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remain open.5 New Jersey, too, revised its COVID-19 order to allow firearm retailers to remain

open after litigation was initiated.6 Similarly, in Bateman v. Perdue, 881 F. Supp. 2d 709, 712

(E.D.N.C. 2012), the Eastern District of North Carolina held that a North Carolina statute

restricting the sale of firearms during declared states of emergency was unconstitutional.

        Because the Second Amendment protects the right to sell arms, Massachusetts cannot ban

this right by forcing firearm retailers to close. Such a ban is per se unconstitutional. No interest

balancing test is necessary, or even appropriate, because the infringement of a right protected by

the Second Amendment is a policy choice the Constitution takes “off the table.” See Heller, 554

U.S. at 616, 628, 636 (holding that a ban on acquiring protected arms was not only per se

unconstitutional, but it would have been invalid “[u]nder any of the standards of scrutiny that we

have applied to enumerated constitutional rights”).

        Defendants cannot use the current public health crisis as an excuse to suspend even

temporarily the Second Amendment right to sell. Jacobson v. Commonwealth of Massachusetts,

197 U.S. 11, 29 (1905), held that a state may reasonably restrict constitutional rights “as the safety

of the general public may demand.” But Jacobson provides that states may implement emergency

measures that curtail constitutional rights only so long as the measures have at least some “real or

substantial relation” to the public health crisis and are not “beyond all question, a plain, palpable

invasion of rights secured by the fundamental law . . . .” Id. at 31. Importantly, Jacobson did not

consider rights that, as of the time it was decided, “had not yet been held to bind the state.” Phillips

v. City of New York, 775 F.3d 538, 543 (2d Cir. 2015) (“Jacobson did not address the free exercise



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  Associated Press Wire Content, Wolf Reopens Gun Shops, Orders More Residents to Stay Home, U.S. News (March
24, 2020), https://www.usnews.com/news/best-states/pennsylvania/articles/2020-03-24/corrections-officers-push-
state-to-stop-inmate-transfers
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  See Alex Napoliello, Gun shops are now considered essential businesses in N.J., Gov. Murphy says, NJ.COM (Mar.
30, 2020), https://www.nj.com/coronavirus/2020/03/gun-shops-are-now-considered-essential-businesses-in-nj-gov-
murphy-says.html.


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of religion because, at the time it was decided, the Free Exercise Clause of the First Amendment

had not yet been held to bind the states.”). Accordingly, the Court should be circumspect about the

precedential authority of Jacobson in light of the progressive advance of constitutional rights in

this country, including Second Amendment recognized in Heller and held binding on the states in

McDonald.

       In any event, Defendants’ prohibition of firearm sales in Massachusetts under the COVID-

19 Orders fails both Jacobson prongs. First, there is no real or substantial relation between closing

firearm retailers and Massachusetts’ ability to respond to the COVID-19 crisis. Firearm retailers

are no different than the long list of other businesses that have been allowed to remain open. The

inescapable conclusion is that Defendants are using COVID-19 as an excuse to invade the Second

Amendment rights of Massachusetts citizens.

       In this respect, the COVID-19 Orders are substantially similar to Louisville, Kentucky’s

and the state of Kansas’ bans on congregating for religious services that were recently ruled

unconstitutional. Citing Jacobson, the District Court for the Western District of Kentucky recently

held that the City of Louisville cannot ban drive-in religious gatherings because such a ban does

not relate to preventing the spread of COVID-19. On Fire Christian Ctr., Inc. v. Fischer, No. 3:20-

CV-264-JRW, 2020 WL 1820249, at *6, 8 (W.D. Ky. Apr. 11, 2020). The Court found: “Louisville

has targeted religious worship by prohibiting drive-in church services, while not prohibiting a

multitude of other non-religious drive-ins and drive-throughs – including, for example, drive-

through liquor stores. Moreover, Louisville has not prohibited parking in parking lots more broadly

– including, again, the parking lots of liquor stores.” Id. at *6. The court also found that drive-in

churchgoers in Louisville can keep “social distancing in accordance with CDC guidelines.” Id. at

*7. So, too, can NSSF’s retailer members, according to both the retailer Plaintiffs’ declarations




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and the ATF’s determination. The District Court for the District of Kansas likewise held that

Jacobson does not provide for a ban on the exercise of a constitutional right when the ban does

not relate to the public health crisis at issue but is instead is “an arbitrary distinction,” as evidenced

by the other, similar types of activities that are not banned by the regulation. First Baptist Church

v. Kelly, No. 20-1102-JWB, 2020 WL 1910021, at *7-8 (D. Kan. Apr. 18, 2020). The COVID-19

Orders are unconstitutional for these same reasons. Because firearm retailers can operate safely

and within the COVID-19 Orders’ social distancing and sanitation guidelines, they must be

allowed to exercise their right to sell arms.

        While Jacobson may allow the state to reasonably restrict some rights, it does not allow

the state to ban the exercise of the right entirely, or to engage in “a plain, palpable invasion of

rights secured by the fundamental law,” as Massachusetts has done here. The COVID-19 Orders,

in direct contravention of Jacobson, eliminate retailers’ right to sell protected arms, which not only

completely ban the retailers’ right to sell but also the law-abiding citizens’ right to acquire. In this

respect, the COVID-19 Orders are akin to the abortion bans in Alabama and Tennessee that were

recently ruled to be unconstitutional under Jacobson because they “effect[ed] a prohibition on

abortion[,]” “a fundamental right.” Robinson v. Marshall, No. 2:19CV365-MHT, 2020 WL

1847128, at *9 (M.D. Ala. Apr. 12, 2020); Adams & Boyle, P.C. v. Slatery, No. 3:15-CV-00705,

2020 WL 1905147, at *5 (M.D. Tenn. Apr. 17, 2020); see also In re Abbott, No. 20-50296, 2020

WL 1911216, at *12, 16-17 (5th Cir. Apr. 20, 2020) (holding that limited abortion restrictions that

are related to Texas’ COVID-19 response are acceptable under Jacobson because they do not effect

a ban, but refusing to reverse the district court’s injunction allowing certain abortions).

        If emergency bans on church services and abortions cannot stand then neither can a total

ban on firearm sales. The Second Amendment is not “a second-class right, subject to an entirely




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different body of rules than the other Bill of Rights guarantees that we have held to be incorporated

into the Due Process Clause.” McDonald v. City of Chicago, Ill., 561 U.S. 742, 780 (2010); see

also Jackson v. City & County of San Francisco, 135 S. Ct. 2799, 2799-2800 (2015) (Thomas, J.,

dissenting from the denial of cert.) (“Second Amendment rights are no less protected by our

Constitution than other rights enumerated in that document”); Silvester v. Becerra, 138 S. Ct. 945,

952 (2018) (Thomas, J., dissenting from the denial of cert.) (“The right to keep and bear arms

[should not be] this Court’s constitutional orphan.”). Defendants’ enforcement of the COVID-19

Orders unconstitutionally infringes upon the exercise of the fundamental Second Amendment right

by prohibiting the purchase and sell of firearms.

                                         CONCLUSION

       For the foregoing reasons, this Court should declare that firearm retailers are essential

businesses under the COVID-19 Orders and, in any event, the Second Amendment protects the

right to sell firearms and ammunition and Defendants cannot prohibit this essential business.




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                      NATIONAL SHOOTING SPORTS FOUNDATION,

                      By its Attorneys,

                      CAMPBELL CONROY & O’NEIL, P.C.

                      /s/ Jacob J. Lantry
                      James M. Campbell (BBO #541882)
                      Jacob J. Lantry (BBO #690452)
                      Campbell Conroy & O’Neil, P.C.
                      One Constitution Wharf, Suite 310
                      Boston, MA 02129
                      (617) 241-3000
                      jmcambpell@campbell-trial-lawyers.com
                      jlantry@campbell-trial-lawyers.com

                      BRADLEY ARANT BOULT CUMMINGS LLP

                      John Parker Sweeney*
                      James W. Porter III*
                      Connor M. Blair*
                      Bradley Arant Boult Cummings LLP
                      1615 L Street, N.W., Suite 1350
                      Washington, DC 20036
                      (202) 719-8216
                      jsweeney@bradley.com
                      jporter@bradley.com
                      *Pro hac vice counsel




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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on April 28, 2020, the foregoing was served, via electronic

delivery to all counsel via CM/ECF system which will forward copies to Counsel of Record.


                                    /s/ Jacob J. Lantry
                                    Jacob J. Lantry




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